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                                       UNITED STATES BANKRUPTCY COURT
                                                  Central DISTRICT OF California
                                                          Los Angeles Division


In Re. LESLIE KLEIN                                                 §                   Case No. 23-10990
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 12/31/2023                                                        Petition Date: 02/22/2023

Months Pending: 10                                                                        Industry Classification:    0   0    0     0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Jeffrey Dulberg                                                          Jeffrey Dulberg
Signature of Responsible Party                                               Printed Name of Responsible Party
01/16/2024
                                                                             10100 Santa Monica Blvd. 13th Floor
Date
                                                                             Los Angeles, CA 90067
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
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Debtor's Name LESLIE KLEIN                                                                        Case No. 23-10990


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                       $2,452,914                              [1][2]
b.   Total receipts (net of transfers between accounts)                                    $2,183,590                 $4,653,855
c.   Total disbursements (net of transfers between accounts)                               $1,264,976                 $1,283,525
d.   Cash balance end of month (a+b-c)                                                     $3,371,529
e.   Disbursements made by third party for the benefit of the estate                                 $0                      $0
f.   Total disbursements for quarterly fee calculation (c+e)                               $1,264,976                 $1,283,525
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                  $3,252,429
e.   Total assets                                                                         $15,126,429
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                             $30,505,334
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                 $97,928
n.   Total liabilities (debt) (j+k+l+m)                                                   $30,603,262
o.   Ending equity/net worth (e-n)                                                        $-15,476,833

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                    $2,160,000                 $2,160,000
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                               $1,323,531                 $1,323,531
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                $836,469                  $836,469

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                              $0
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                                   $0                      $0


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Debtor's Name LESLIE KLEIN                                                                                   Case No. 23-10990

Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Michael Berger                    Other                                    $0            $0                $0             $0
       ii       Bradley Sharp                     Other                                    $0            $0                $0             $0
       iii      Development Specialists, Inc      Financial Professional                   $0            $0                $0             $0
       iv       Pachulski, Stang, Ziehl & Jones Lead Counsel                               $0            $0                $0             $0
       v        Goldfarb Gross Seligman & Co Special Counsel                               $0            $0                $0             $0
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                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                        Role
       i        Desert Sands Realty              Other                                    $0            $0                $0             $0
       ii       Coldwell Banker Realty           Other                                    $0            $0                $0             $0
       iii      Law Office of Eric Everett HawSpecial Counsel                             $0            $0                $0             $0
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         xcix
         c
c.       All professional fees and expenses (debtor & committees)             $0              $0               $0               $0




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No                                          [3]
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No                                          [4]
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                  $21,473
d.      Total income in the reporting period (a+b+c)                                                         $21,473
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                     $4,127
i.      Total expenses in the reporting period (e+f+g+h)                                                       $4,127
j.      Difference between total income and total expenses (d-i)                                             $17,346
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Bradley Sharp                                                               Bradley Sharp
Signature of Responsible Party                                                  Printed Name of Responsible Party

Chapter 11 Trustee                                                              01/16/2024
Title                                                                           Date




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                                            Bankruptcy1to50




                                           Bankruptcy51to100




                                          NonBankruptcy1to50




                                         NonBankruptcy51to100




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Chapter 11 Trustee Comments and Disclaimers to the December 2023 Monthly
Opera ng Report (“MOR”)
The Chapter 11 Trustee (the “Trustee”) reserves all rights to amend or supplement the MOR in all
respects, as may be necessary or appropriate. Nothing contained in this MOR shall constitute a waiver
of any of the Trustee’s or the estate’s rights or an admission with respect to the Chapter 11 Case.

The Trustee is filing the MOR solely for the purpose of complying with the monthly opera ng
requirements applicable in the Debtor’s Chapter 11 case. The MOR is in a format acceptable to the U.S.
Trustee for the Central District of California, Los Angeles Division. The MOR should not be relied upon by
any persons for informa on rela ng to current or future financial condi ons, events, or performance of
the estate.

In preparing the MOR, the Trustee relied upon financial data derived from the limited books and records
available at the me of prepara on. Subsequent informa on or discovery may result in material
changes to the MOR and errors or omissions may exist. Notwithstanding any such discovery, new
informa on, or errors or omissions, the Trustee does not hereby undertake any obliga on or
commitment to update the MOR. There can be no assurance that the financial informa on presented
herein is complete, and readers are strongly cau oned not to place undue reliance on the MOR.

The informa on and financial ac vity contained in this MOR reflect only the bank accounts and assets
currently under the Trustee’s direct control. The Trustee has reason to believe that Debtor bank
accounts and/or bank accounts in the name of Debtor‐related en es, presently outside of the control
of the Trustee, have been used to receive and send funds that righ ully belong to the estate. The
Trustee also has reason to believe that the Debtor has impermissibly made payments on pre‐pe on
debts and has incurred post‐pe on debts. Eﬀorts are ongoing to confirm and control such ac vity;
however such ac vity is not presented in this MOR due to a lack of informa on.

[1]    The Trustee was appointed on May 24, 2023, and the Trustee or his representa ves have
reviewed the February 2023 and March 2023 monthly opera ng reports to iden fy the bank accounts
used and gathered addi onal, but incomplete, informa on in order to prepare the July 2023 monthly
opera ng report. The Debtor filed the April 2023 monthly opera ng report (“April 2023 MOR”) on
August 8, 2023. The Trustee reserves the right to amend this and any subsequent MOR upon receipt of
any addi onal relevant informa on.

[2]     The Trustee has received funds from various bidders as part of the sale of real property by the
estate. The Trustee holds these funds in trust as they are subject to being refunded if a bidder is not the
ul mate buyer. The receipt of these deposits and their return are not considered receipts and
disbursements by the estate and are not included in Part 1 as such. A reconcilia on to the bank
statement balance is included in the suppor ng documents a ached to the monthly opera ng report.

[3]     Per the instruc ons for the MOR Part 7a, the payments made on prepe on debt were the
secured claims filed by Mr. Cooper (Proof of Claim 32‐1) and Ci zens Bank (POC 17‐1) that were paid out
of escrow as part of the sale of the 3752 Ocean, Oxnard, CA property and detailed out in the Schedule of
Asset Sales. Docket #452 is the mo on to approve the sale which includes these payments which was
approved by the Court on 11/17/23 (Docket #492).
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[4]      The Debtor’s personal tax return for tax year 2022 was due to be filed by October 16, 2023. As
of the filing of this MOR, the Trustee has not received confirma on that this return has been filed.
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December 2023 Cash Activity


Cash 11/30/23                                  $ 2,452,914.29 MOR Part 1a
Receipts                                         2,183,590.37 MOR Part 1b
Intra‐Debtor Transfers In                          822,707.97
Intra‐Debtor Transfers Out                        (822,707.97)
Disbursements                                   (1,264,975.87) MOR Part 1c
Ending Cash                                    $ 3,371,528.79 MOR Part 1d

Receipts Held in Trust                                    ‐    [1]
Disbursement of Funds Held in Trust               (119,100.00) [1]

Bank Balance 12/31/23                          $ 3,252,428.79



Unrestricted
    East‐West Bank ‐8746 (General)                  16,650.77
Restricted
    East‐West Bank ‐8753 (Martel)                   53,000.61
    East‐West Bank ‐8760 (Highland)                 40,120.87
    East‐West Bank ‐8767 (Poinsettia)                6,869.74
    East‐West Bank ‐8879 (Life Capital)          2,207,628.86
    East‐West Bank ‐9068 (Oxnard)                  888,897.14
    East‐West Bank ‐9110 (Berger Retainer)          39,260.80
Total                                          $ 3,252,428.79



[1]: Receipts and Disbursements Held in Trust reflect funds held by the bankruptcy estate as deposits related
to potential real estate transactions. If a Receipt Held in Trust is returned by the estate to the original
owner, it is not counted as a disbursement for purposes of calculating US Trustee fees as the estate did not
have free and clear rights to those funds.




Prepared by Development Specialists, Inc
Preliminary, subject to change and/or review
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December 2023 Schedule of Asset Sales


  Property                                        Real Property Located at 3752 Ocean Drive,
                                                  Oxnard CA 93035

  Date of Sale                                         12/04/23

  Total Consideration                              $ 2,160,000

  Deposits Paid Outside of Escrow                         (64,800)
  Mr. Cooper Secured Claim Payoff                      (1,091,580)
  Citizens Secured Claim Payoff                           (20,715)
  Property Tax Proration                                    2,118
  Commissions                                            (108,000)
  Other Disbursements                                     (30,694)
  Title/Taxes/Recording Charges                            (6,321)
  Escrow Charges                                           (3,540)

  Net Proceeds Received                            $     836,469

  Total Disbursements from Escrow                      (1,325,649)
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December 2023 Assets

                                                                                        Source
Current Assets
  Cash                                                              $    3,252,428.79 MOR Part 1d (Reconciled)

Total Current Assets                                                $    3,252,428.79

Other Assets
  Real Estate                                                                           Schedule A/B Summary Page
    322 N. June St                               $   2,450,000.00                       Schedule A/B Summary Page
    315 N. Martel Ave                                2,500,000.00                       Schedule A/B Summary Page
    143 S. Highland Drive                            2,200,000.00                       Schedule A/B Summary Page
    161 N. Poinsettia Place                          2,000,000.00                       Schedule A/B Summary Page
    2560‐B Whitewater Club Drive                       350,000.00                       Schedule A/B Summary Page
    Leonardo Plaza Hotel                               225,000.00                       Schedule A/B Summary Page
    Dan Boutique Hotel                                 100,000.00                       Schedule A/B Summary Page
  Total Real Estate                                                 $    9,825,000.00

  Personal/Household Items                                                 49,000.00 Schedule A/B Summary Page

  Financial/Other
    Issac Kirzner Insurance Policy Payout        $   1,000,000.00                       Schedule A/B Summary Page
    Judith Bittman Insurance Policy Payout           1,000,000.00                       Schedule A/B Summary Page
  Total Financial/Other                                             $    2,000,000.00

Total Other Assets                                                  $   11,874,000.00


Total Assets                                                        $   15,126,428.79




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Prepetition Liabilities
                                                                  Source
Prepetition Secured Debt
  Chase Mortgage                                      138,719.00 Schedule D
  Ericka and Joseph Vago                           24,334,038.99 Schedule D
  Fiore Racobs & Powers                                49,436.57 Schedule D
  Gestetner Charitable Remainder Trust              2,000,000.00 Schedule D
  Los Angeles County Tax Collector                     15,000.00 Schedule D
  Mrc/united Wholesale                                954,432.00 Schedule D
  Selene Finance                                    1,755,385.00 Schedule D
  Shellpoint Mortgage Servicing                     1,213,516.00 Schedule D
  Toyota Financial Services                            34,318.00 Schedule D
  Toyota Financial Services                            10,488.00 Schedule D

Total Prepetition Secured Debt                 $ 30,505,333.56

Total Prepetition Priority Debt                            0.00 Schedule E

Prepetition Unsecured Debt
  Bank of America                              $       7,450.00 Schedule F
  Bank of America                                      1,566.00 Schedule F
  Barclays Bank Delaware                               8,896.00 Schedule F
  California Bank & Trust                              1,695.00 Schedule F
  Chase Card Services                                 22,278.00 Schedule F
  Chase Card Services                                 22,095.00 Schedule F
  Chase Card Services                                 17,555.00 Schedule F
  Chase Card Services                                 15,112.00 Schedule F
  Citibank                                             1,281.00 Schedule F
  Franklin H. Menlo Irrevocable Trust               Unknown     Schedule F
  Jeffrey Siegel, Succerssor Trustee                Unknown     Schedule F

Total Prepetition Unsecured Debt               $      97,928.00


Total Liabilities                              $ 30,603,261.56




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Preliminary, subject to change and/or review
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Bankruptcy Estate of Leslie Klein               Main Document    Page 19 of 36
Insurance Coverage Schedule
Real Property
    Property Address 1                    Insurance Issuer           Policy No.     Policy Expiration Date
    322 N. June Street                    Great American Ins.   1134133 & 1134135      Until Cancelled
    315 N. Martel Avenue                  Great American Ins.   1134133 & 1134135      Until Cancelled
    143 S. Highland Ave.                  Farmers                   933575718              07/17/24
    161 N. Poinsettia Place               Safeco                    08513547               03/07/24
    2560‐B Whitewater Club Drive          Great American Ins.   1134133 & 1134135      Until Cancelled

Automobiles
   Vehicle                                Insurance Issuer         Policy No.       Policy Expiration Date
   2021 Lexus ES 350                      Mercury               CAAP0000189681             2/1/2024
   2021 Lexus LS 500                      Mercury               CAAP0000189681             2/1/2024




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Bankruptcy Estate of Leslie Klein
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December 2023 Cash Receipts and Disbursements                        Main Document    Page 20 of 36

    Date       Account       Check     Payor/Payee                       Description                        Receipt      Disbursement       Balance       Category
General
  11/30/23     EWB ‐8746               Beginning Balance                                                                                      57,380.15   Beginning Balance
  12/01/23     EWB ‐8746      1015     Jonathan Baharvar                 Return of Deposit                                   (54,300.00)       3,080.15   Disbursement (Held in Trust)
  12/04/23     EWB ‐8746               A&A Escrow                        3752 Ocean Drive Sale            2,160,000.00                     2,163,080.15   Receipt
  12/04/23     EWB ‐8746               A&A Escrow                        Return of Deposit                                   (54,300.00)   2,108,780.15   Disbursement (Held in Trust)
  12/04/23     EWB ‐8746               A&A Escrow                        Return of Deposit                                   (10,500.00)   2,098,280.15   Disbursement (Held in Trust)
  12/04/23     EWB ‐8746               A&A Escrow (Mr Cooper)            Principal                                          (800,630.97)   1,297,649.18   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Mr Cooper)            Non‐interest Bearing Principal                     (153,801.27)   1,143,847.91   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Mr Cooper)            Interest                                            (70,068.01)   1,073,779.90   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Mr Cooper)            Escrow Advances                                     (61,881.35)   1,011,898.55   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Mr Cooper)            Lender paid Expenses                                 (4,955.00)   1,006,943.55   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Mr Cooper)            Misc. Closing Costs                                    (243.00)   1,006,700.55   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Citizens)             Principal                                           (17,930.97)     988,769.58   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Citizens)             Interest                                             (1,486.08)     987,283.50   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Citizens)             Misc. Closing Costs                                  (1,298.00)     985,985.50   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow                        Property Taxe Adjustment             2,117.55                       988,103.05   Receipt
  12/04/23     EWB ‐8746               A&A Escrow                        Commissions                                        (108,000.00)     880,103.05   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow                        Misc. Closing Costs                                     (74.95)     880,028.10   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (FTB)                  State Taxes                                         (26,497.30)     853,530.80   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Chris Wells Const.)   Property Expense                                     (1,555.12)     851,975.68   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Carolyn Triebold)     Property Expense                                     (2,566.34)     849,409.34   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow                        Misc. Closing Costs                                  (3,944.50)     845,464.84   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow (Ventura County)       Transfer Tax                                         (2,376.00)     843,088.84   Disbursement
  12/04/23     EWB ‐8746               A&A Escrow                        Misc. Closing Costs                                  (3,540.00)     839,548.84   Disbursement
  12/04/23     EWB ‐8746               EWB ‐8767 (Poinsettia)            Transfer to write checks             1,775.00                       841,323.84   Intra‐Debtor Transfer
  12/05/23     EWB ‐8746               Bank of America                   Bank Fee                                                (20.00)     841,303.84   Disbursement
  12/05/23     EWB ‐8746               EWB ‐9068 (Oxnard)                Proceeds Transfer                                  (820,932.97)      20,370.87   Intra‐Debtor Transfer
  12/11/23     EWB ‐8746      1016     Brothers Glass                    Property Management                                    (345.00)      20,025.87   Disbursement
  12/14/23     EWB ‐8746      1017     Steve Flores                      Property Management                                    (345.00)      19,680.87   Disbursement
  12/22/23     EWB ‐8746               Goldfarb Gross Seligman & Co      Professional Fee Reimb.               386.91                         20,067.78   Receipt
  12/28/23     EWB ‐8746      1018     Trustee Insurance Agency, Inc.    Insurance premium                                    (2,984.59)      17,083.19   Disbursement
  12/28/23     EWB ‐8746               Goldfarb Gross Seligman & Co      Expense Reimbursement                                  (432.42)      16,650.77   Disbursement

Martel
 11/30/23      EWB ‐8753               Beginning Balance                                                                                     47,474.03    Beginning Balance
 12/18/23      EWB ‐8753               Tenant (Martel)                   Rent                                 5,500.00                       52,974.03    Receipt
 12/31/23      EWB ‐8753               East‐West Bank                    Interest Accrual                        26.58                       53,000.61    Receipt

Highland
  11/30/23     EWB ‐8760               Beginning Balance                                                                                     36,100.75    Beginning Balance
  12/18/23     EWB ‐8760               Tenant (Highland)                 Rent                                4,000.00                         4,000.00    Receipt
  12/31/23     EWB ‐8760               East‐West Bank                    Interest Accrual                       20.12                        36,120.87    Receipt

Poinsettia
  11/30/23     EWB ‐8767               Beginning Balance                 Beginning Balance                                                     8,641.32   Beginning Balance
  12/04/23     EWB ‐8767               EWB ‐8746 (General)               Transfer to write checks                             (1,775.00)       6,866.32   Intra‐Debtor Transfer
  12/31/23     EWB ‐8767               East‐West Bank                    Interest Accrual                         3.42                         6,869.74   Receipt

Life Capital Group
   11/30/23 EWB ‐8879                  Beginning Balance                 Beginning Balance                                                 2,199,223.60   Beginning Balance
   12/31/23 EWB ‐8879                  East‐West Bank                    Interest Accrual                     8,405.26                     2,207,628.86   Receipt

Oxnard
  11/30/23     EWB ‐9068               Beginning Balance                                                                                     64,983.12    Beginning Balance
  12/05/23     EWB ‐9068               EWB ‐8746 (General)               Proceeds Transfer                 820,932.97                       885,916.09    Intra‐Debtor Transfer
  12/31/23     EWB ‐9068               East‐West Bank                    Interest Accrual                    2,981.05                       888,897.14    Receipt

Berger Retainer
  11/30/23 EWB ‐9110                   Beginning Balance                                                                                     39,111.32    Beginning Balance
  11/30/23 EWB ‐9110                   East‐West Bank                    Interest Accrual                      149.48                        39,260.80    Receipt




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Month:                                                          Dec‐23

Bank Name                                             East‐West Bank
Bank Account                                                      ‐8746
Account Name                                          General

Starting Bank Balance                                        57,380.15

Receipts
                  A&A Escrow (Oxnard Property Sale)        820,932.97
                  A&A Escrow (Oxnard Property Sale)         15,535.72
                  Goldfarb Gross Seligman & Co                 386.91

Total Receipts                                             836,855.60

Disbursements
                  Check #1015 (Jonathan Baharvar)           (54,300.00)
                  Check #1016 (Brothers Glass)                 (345.00)
                  Check #1017 (Steve Flores)                   (345.00)
                  Check #1018 Trustee Insurance              (2,984.59)
                  Bank of America Fee                           (20.00)
                  Goldfarb Gross Seligman & Co                 (432.42)

Total Disbursements                                         (58,427.01)


Transfers
                  Transfer from ‐8767                         1,775.00
                  Transfer to ‐9068                        (820,932.97)

Total Transfers                                            (819,157.97)

Ending Bank Balance                                          16,650.77


Outstanding Deposits


Outstanding Checks
                Check #1014 (ASAP Corp.)                       (370.01)
                Check #1019 (Bank of America)                  (138.40)
                Check #1021 (Morgan Stanley)                    (55.00)

                                                               (563.41)

Ledger Balance                                               16,087.36


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Month:                                                   Dec‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐8753
Account Name                                   Martel

Starting Bank Balance                                 47,474.03

Receipts
                         Martel Rent                   5,500.00
                         Bank Interest                    26.58

Total Receipts                                         5,526.58

Disbursements
                         None                              0.00

Total Disbursements                                        0.00


Transfers
                         None

Total Transfers                                            0.00

Ending Bank Balance                                   53,000.61

Outstanding Deposits
                         None

Outstanding Checks
                         None

Ledger Balance                                        53,000.61




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Month:                                                   Dec‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐8760
Account Name                                   Highland

Starting Bank Balance                                 36,100.75

Receipts
                         Highland Rent                 4,000.00
                         Bank Interest                    20.12

Total Receipts                                         4,020.12

Disbursements
                         None                              0.00

Total Disbursements                                        0.00


Transfers
                         None                              0.00

Total Transfers                                            0.00

Ending Bank Balance                                   40,120.87

Outstanding Deposits
                         None

Outstanding Checks
                         None

Ledger Balance                                        40,120.87




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Month:                                                   Dec‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐8767
Account Name                                   Poinsettia

Starting Bank Balance                                  8,641.32

Receipts
                         Bank Interest                     3.42

Total Receipts                                             3.42

Disbursements
                         None                              0.00

Total Disbursements                                        0.00


Transfers
                         Transfer to ‐8746            (1,775.00)

Total Transfers                                       (1,775.00)

Ending Bank Balance                                    6,869.74

Outstanding Deposits
                         None

Outstanding Checks
                         None

Ledger Balance                                         6,869.74




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Month:                                                    Dec‐23

Bank Name                                      East‐West Bank
Bank Account                                                 ‐8879
Account Name                                   Life Capital Group

Starting Bank Balance                              2,199,223.60

Receipts
                         Bank Interest                  8,405.26

Total Receipts                                          8,405.26

Disbursements
                         None

Total Disbursements                                         0.00


Transfers
                         None

Total Transfers                                             0.00

Ending Bank Balance                                2,207,628.86

Outstanding Deposits
                         None

Outstanding Checks
                         None

Ledger Balance                                     2,207,628.86




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Month:                                                   Dec‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐9068
Account Name                                   Oxnard

Starting Bank Balance                                 64,983.12

Receipts
                         Bank Interest                 2,981.05

Total Receipts                                         2,981.05

Disbursements
                         None

Total Disbursements                                        0.00


Transfers
                         Transfer From ‐8746        820,932.97

Total Transfers                                     820,932.97

Ending Bank Balance                                 888,897.14

Outstanding Deposits
                         None

Outstanding Checks
                         None

Ledger Balance                                      888,897.14




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Month:                                                   Dec‐23

Bank Name                                      East‐West Bank
Bank Account                                               ‐9110
Account Name                                   Berger Retainer

Starting Bank Balance                                 39,111.32

Receipts
                         Bank Interest                  149.48

Total Receipts                                          149.48

Disbursements
                         None

Total Disbursements                                        0.00


Transfers
                         None

Total Transfers                                            0.00

Ending Bank Balance                                   39,260.80

Outstanding Deposits
                         None

Outstanding Checks
                         None

Ledger Balance                                        39,260.80




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  9300 Flair Dr., 1St FL
  El Monte, CA. 91731
                                                                                                                  ACCOUNT STATEMENT
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                                                                                         STARTING DATE: December 01, 2023
                                                                                            ENDING DATE: December 31, 2023
                                                                                               Total days in statement period: 31
                                                                                                                                         8746
                                                                                                                                        ( 4)


                                                                                                    Happy holidays from all of us at East
           LESLIE KLEIN BANKRUPTCY ESTATE                                                           West Bank! Thank you for choosing us
           BRADLEY SHARP CHAPTER 11 TRUSTEE                                                         as your financial bridge. We wish you a
           CASE #23-10990                                                                           joyous and prosperous holiday season
           333 S GRAND AVE SUITE 4100                                                               and look forward to serving you in the new
           LOS ANGELES CA 90071-1571                                                                year. Together, let's reach further.




Standard Business Checking


Account number                                       8746                      Beginning balance                                 $57,380.15
Enclosures                                               4                     Total additions                    ( 4)           838,630.60
Low balance                                   $3,080.15                        Total subtractions                 ( 7)           879,359.98
Average balance                             $35,910.21                         Ending balance                                    $16,650.77




CREDITS
Number            Date          Transaction Description                                                                    Additions
                  12-04     Onln Bkg Trft C                             8767                                              1,775.00
                  12-04     Wire Trans-IN                A & A ESCROW SERVI CES INC                                  820,932.97
                  12-21     Wire Trans-IN                A & A ESCROW SERVI CES INC                                      15,535.72
                  12-22     Incoming Ccy Fx              FX SPOT 101422310 1 1 LESLIE KLEIN BANKR                            386.91




CHECKS
Number            Date                      Amount                       Number                 Date                        Amount
1015              12-01              54,300.00                           1017                   12-14                        345.00
1016              12-11                       345.00                     1018                   12-28                     2,984.59




DEBITS
Date      Transaction Description                                                                                        Subtractions
12-05    Transfer Debit                       9068                                                                   820,932.97
12-05    Cash Managemnt       BB ESSENTIAL STOP PAYMENT                                                                       20.00
12-28    Outgoing Fx Ccy      FX OUT WIRE 101423299 1 1 LESLIE KLEIN BANKR                                                   432.42




DAILY BALANCES
Date            Amount                           Date             Amount                             Date                  Amount
11-30              57,380.15                     12-05                  4,835.15                     12-21                    19,680.87
12-01               3,080.15                     12-11                  4,490.15                     12-22                    20,067.78
12-04            825,788.12                      12-14                  4,145.15                     12-28                    16,650.77
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9300 Flair Dr., 1St FL
                                                                  ENDING DATE: December 31, 2023
El Monte, CA. 91731
                                                                                           8746
     LESLIE KLEIN BANKRUPTCY ESTATE




   OVERDRAFT/RETURN ITEM FEES


                                                     Total for                Total
                                                    this period            year-to-date


              Total Overdraft Fees                      $0.00                    $0.00


              Total Returned Item Fees                  $0.00                    $0.00
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                                                                                                        ACCOUNT STATEMENT
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                                                                                    STARTING DATE: December 01, 2023
                                                                                       ENDING DATE: December 31, 2023
                                                                                        Total days in statement period: 31
                                                                                                                              8760
                                                                                                                             ( 0)


                                                                                          Happy holidays from all of us at East
          LESLIE KLEIN BANKRUPTCY ESTATE                                                  West Bank! Thank you for choosing us
          BRADLEY SHARP CHAPTER 11 TRUSTEE                                                as your financial bridge. We wish you a
          CASE #23-10990                                                                  joyous and prosperous holiday season
          HIGHLAND RENTAL SEGREGATED                                                      and look forward to serving you in the new
          333 S GRAND AVE SUITE 4100                                                      year. Together, let's reach further.
          LOS ANGELES CA 90071-1571




Business Money Market


Account number                                      8760                 Beginning balance                            $36,100.75
Low balance                                    $36,100.75                Total additions                ( 2)             4,020.12
Average balance                                $37,907.20                Total subtractions             ( 0)                   0.00
Interest paid year to date                        $20.12                 Ending balance                               $40,120.87




CREDITS
Number      Date                 Transaction Description                                                        Additions
                   12-18     Deposit                                                                           4,000.00
                   12-31     Interest Credit                                                                       20.12




DAILY BALANCES
Date                Amount                        Date               Amount                Date                       Amount
11-30          36,100.75                          12-18           40,100.75                12-31                40,120.87




INTEREST INFORMATION
Annual percentage yield earned                            1.68%   Interest-bearing days                                      11
Average balance for APY                           $40,100.75      Interest earned                                      $20.12




Interest for 2023 to be reported to the Internal Revenue Service on your tax return is $20.12




        OVERDRAFT/RETURN ITEM FEES


                                                                          Total for                       Total
                                                                         this period                 year-to-date


                   Total Overdraft Fees                                       $0.00                            $0.00


                   Total Returned Item Fees                                   $0.00                            $0.00
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                                                                                                       ACCOUNT STATEMENT
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                                                                                   STARTING DATE: December 01, 2023
                                                                                     ENDING DATE: December 31, 2023
                                                                                      Total days in statement period: 31
                                                                                                                              8767
                                                                                                                             ( 0)


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           LESLIE KLEIN BANKRUPTCY ESTATE                                                West Bank! Thank you for choosing us
           BRADLEY SHARP CHAPTER 11 TRUSTEE                                              as your financial bridge. We wish you a
           CASE #23-10990                                                                joyous and prosperous holiday season
           POINSETTA RENTAL SEGREGATED                                                   and look forward to serving you in the new
           333 S GRAND AVE SUITE 4100                                                    year. Together, let's reach further.
           LOS ANGELES CA 90071-1571




Business Money Market


Account number                                      8767                Beginning balance                              $8,641.32
Low balance                                    $6,866.32                Total additions                ( 1)                    3.42
Average balance                                $7,038.09                Total subtractions             ( 1)             1,775.00
Interest paid year to date                         $3.42                Ending balance                                 $6,869.74




CREDITS
Number      Date                 Transaction Description                                                        Additions
                   12-31     Interest Credit                                                                          3.42




DEBITS
Date      Transaction Description                                                                             Subtractions
12-04    Onln Bkg Trfn D       TO ACC            8746                                                          -1,775.00




DAILY BALANCES
Date                Amount                       Date               Amount                Date                        Amount
11-30              8,641.32                      12-04            6,866.32                12-31                   6,869.74




INTEREST INFORMATION
Annual percentage yield earned                           1.67%   Interest-bearing days                                       11
Average balance for APY                           $6,866.32      Interest earned                                        $3.42




Interest for 2023 to be reported to the Internal Revenue Service on your tax return is $3.42
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9300 Flair Dr., 1St FL
                                                                  ENDING DATE: December 31, 2023
El Monte, CA. 91731
                                                                                           8767
     LESLIE KLEIN BANKRUPTCY ESTATE




   OVERDRAFT/RETURN ITEM FEES


                                                     Total for                Total
                                                    this period            year-to-date


              Total Overdraft Fees                      $0.00                    $0.00


              Total Returned Item Fees                  $0.00                    $0.00
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                                                                                    STARTING DATE: December 01, 2023
                                                                                       ENDING DATE: December 31, 2023
                                                                                        Total days in statement period: 31
                                                                                                                              8879
                                                                                                                             ( 0)


                                                                                          Happy holidays from all of us at East
          LESLIE KLEIN BANKRUPTCY ESTATE                                                  West Bank! Thank you for choosing us
          BRADLEY SHARP CHAPTER 11 TRUSTEE                                                as your financial bridge. We wish you a
          CASE #23-10990                                                                  joyous and prosperous holiday season
          (LIFE CAPITAL GROUP)                                                            and look forward to serving you in the new
          333 S GRAND AVE SUITE 4100                                                      year. Together, let's reach further.
          LOS ANGELES CA 90071-1571




Business Money Market


Account number                                      8879                 Beginning balance                       $2,199,223.60
Low balance                           $2,199,223.60                      Total additions                ( 1)             8,405.26
Average balance                       $2,199,223.60                      Total subtractions             ( 0)                   0.00
Interest paid year to date                     $26,418.91                Ending balance                          $2,207,628.86




CREDITS
Number      Date                 Transaction Description                                                        Additions
                   12-31     Interest Credit                                                                   8,405.26




DAILY BALANCES
Date                Amount                        Date               Amount                Date                       Amount
11-30       2,199,223.60                          12-31      2,207,628.86




INTEREST INFORMATION
Annual percentage yield earned                            4.59%   Interest-bearing days                                      31
Average balance for APY                        $2,199,223.60      Interest earned                                 $8,405.26




Interest for 2023 to be reported to the Internal Revenue Service on your tax return is $26,418.91




        OVERDRAFT/RETURN ITEM FEES


                                                                          Total for                       Total
                                                                         this period                 year-to-date


                   Total Overdraft Fees                                       $0.00                            $0.00


                   Total Returned Item Fees                                   $0.00                            $0.00
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